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CO 526 Rev, 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vs. Criminal Case No.: 23-CR-161 (CRC)

RUSSELL CAMPBELL

WAIVER OF TRIAL BY JURY

With the consent of the United States Attorney and the approval of the Court, the defendant

waives his right to trial by jury.

Yusset\ Campbev\

Defendant

Counsel > Defendant

I consent:

My

Assistant United States attorney

= Date: 502 (ey
United States DistrigCIudee

Approved:

